          Case: 1:17-cv-07781 Document #: 27 Filed: 11/06/19 Page 1 of 1 PageID #:113                           'rv


                       United Stutes District Courtfor the Northern District of lllinois


         Case Number: 17 -cv-77 81                      Assigned/Issued By: TG

        Judge Name: Leinenweber                         Designated Magistrate Judge: Weisman



                                                 FEE INFORMATION


    Amount Due:             n    $400.00         tr   $46.00       n     $s.00

                            tr   IFP             tr   No Fee
                                                                   tr       Other

                            tr   $s0s.00

    Number of Service Copies                                   Date:

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    Amount Paid:                                               Receipt #:

    Date Payment Rec'd:                                        Fiscal Clerk:



                                                      ISSU ANCES

         T       Summons                                           tr   Alias Summons

         f,      Third Party Summons                               tr   Lis Pendens

        tr       Non Wage Garnishment Summons                      tr   Abstract of Judgment

        T        Wage-Deduction Garnishment Summons


        V        Citation to Discover Assets                                   (Victim, Against and $ Amount)



         n       writ
                            (Type of Writ)



     1      original   and-J            copi.,   on-!l/Offi             asto DENNIS A. BREBNER
                                                          (Date)




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Rev.08/19/2016
